
PER CURIAM.
Affirmed. Agrella v. Rivkind, 404 So.2d 1113 (Fla. 3d DCA 1981), and cases cited therein. Ryon v. Shaw, 77 So.2d 455 (Fla.1955); Owens v. State, 59 So.2d 254 (Fla.1952); Clein v. State, 52 So.2d 117 (Fla. 1952); In re: Report of Grand Jury, 152 Fla. 154, 11 So.2d 316 (1943); Reed v. State, 94 Fla. 32, 113 So. 630 (1927). See Haldeman v. Sirica, 501 F.2d 714 (D.C.Cir.1974) (en banc).
